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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

KEN PALLUOTTO,                                           §
                                                         §
           Plaintiff,                                    §
                                                         §
v.                                                       §                  CASE NO. 4:24-cv-721
                                                         §
NEWREZ LLC and JOE CASTRO,                               §
    Defendants.                                          §
                                                         §

          DEFENDANT NEWREZ LLC’S REPLY TO PLAINTIFF’S RESPONSE TO
            DEFENDANT’S PARTIAL MOTION FOR SUMMARY JUDGMENT

           Defendant NewRez LLC (hereafter “Defendant”) respectfully replies to Plaintiff Ken

Palluotto’s Response [Docket # 27] to Defendant’s Partial Motion for Summary Judgment [Docket

# 23]. In support, Defendant would show the following:

      A. NO EVIDENCE MARGARET JANKOWIAK AGREED TO THE INFORMAL MARRIAGE AND
         OBJECTION TO EVIDENCE.

1.         Defendant in no way concedes that Plaintiff has established an informal marriage. Plaintiff

fails to point to a single document in which Margaret Jankowiak acknowledges the alleged

informal marriage to Plaintiff. Margaret Jankowiak executed multiple documents recorded in the

public records in which she confirmed that she was an unmarried woman.1 In fact, not a single

document in the Property’s chain of title identifies Margaret Jankowiak as a married individual.

However, Plaintiff claims that he was married to Ms. Jankowiak since September 1996.2

2.         Defendant objects to the Affidavit of Kenny Palluotto with respect to all statements as to

whether Margaret Jankowiak considered herself to be married. Said statements are hearsay and



1
    See Exhibits 3, 4, and 7 attached to Plaintiff’s response.
2
    Margaret Jankowiak was legally married to David Jankowiak until 1999.

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call for speculation. Further, Defendant objects to the Notice of Award from the Social Security

Administration attached to Plaintiff’s response to Defendant’s Partial Motion for Summary

Judgment as Exhibit 9 as hearsay.

            B. PLAINTIFF ADMITS TO KNOWLEDGE OF THE LOAN AT ALL RELEVANT TIMES.

3.         The Texas Constitution allows an owner’s spouse to subsequently consent to the home

equity lien. TEX. CONST. art. XVI, § 50(a)(6)(Q)(xi). Plaintiff testified that he knew Margaret

Jankowiak refinanced her loan against the Property for a lower interest rate.3 Plaintiff admits in

both his deposition testimony and his affidavit attached to Plaintiff’s response to Defendant’s

Partial Motion for Summary Judgment that he continued to make payments on the mortgage for

years after Margaret Jankowiak died. Margaret Jankowiak made the payments on the mortgage for

close to ten (10) years before her death and then Plaintiff continued to make the payments after

her death. The evidence is undisputed that Plaintiff had full knowledge of the loan for almost

seventeen (17) years before filing his lawsuit disputing the validity of the mortgage.

4.         Plaintiff relies on the Texas Supreme Court case of Hruska v. First State Bank of Deanville

to support his position that the home equity loan cannot be ratified by the spouse. However, this

case stands for the proposition that a lien may not be created by oral representation as First State

Bank attempted to do in that case. Hruska, 747 S.W.2d 783, 785 (Tex. 1988). In the case at issue,

there is a Texas Home Equity Security Instrument undisputedly signed by Margaret Jankowiak in

2007.

5.         Further, Ya Qin Tong v. Nationstar Mortgage, the other case cited by Plaintiff, is

distinguishable from the matter at hand. In Ya Qin Tong, the borrower’s wife testified that she had

no knowledge of the loan and would have objected to the loan on her residence. Ya Qin Tong v.



3
    See Exhibit 7 to Defendant’s Partial Motion for Summary Judgment.

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Nationstar Mortgage LLC, 2023 WL 2422482, No. 05-19-01558-CV (Tex. App.—Dallas March

9, 2023, pet. denied). Unlike Ms. Tong, Plaintiff Palluotto testified that he knew Ms. Jankowiak

was refinancing the loan to obtain a lower interest rate. Further, he continued to make payments

on the loan for years after Ms. Jankowiak’s death. As such, Plaintiff consented to and ratified the

2007 Texas Home Equity Security Instrument.

        C. CONCLUSION

6.      Defendant respectfully requests that the Court grant Defendant’s Partial Motion for

Summary Judgment.


                                                           Respectfully submitted,

                                                           /s/ Tiffany Serbousek Gilbert
                                                           Gregory Brewer (Lead Counsel)
                                                           Southern District of Texas No. 2175443
                                                           State Bar No. 00792370
                                                           Gregory.brewer@fnf.com
                                                           Tiffany Serbousek Gilbert
                                                           Southern District of Texas No. 2851474
                                                           Texas Bar No.: 24058776
                                                           Tiffany.gilbert@fnf.com

                                                           FIDELITY NATIONAL LAW GROUP
                                                           6900 Dallas Parkway, Suite 610
                                                           Plano, Texas 75024
                                                           Phone: 972-812-6522
                                                           Facsimile: 972-812-9408

                                                           COUNSEL FOR DEFENDANT
                                                           NEWREZ LLC d/b/a SHELLPOINT
                                                           MORTGAGE SERVICING




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on May 7, 2025, I electronically filed the foregoing document
with the clerk of the court for the U.S. District Court, Southern District of Texas, using the
electronic case filing system of the court. A copy of this document was served to all counsel
of record via ECF Notification.


                                                          /s/ Tiffany Serbousek Gilbert_________
                                                            TIFFANY SERBOUSEK GILBERT




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